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                         Exhibit H
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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 TELEBRANDS CORPORATION,                           ) Case No. 1:23-cv-00631-BMB
                                                   )
                Plaintiff,                         ) Judge Bridget Meehan Brennan
                                                   )
           v.                                      )
                                                   )
 WINSTON PRODUCTS LLC,                             )
                                                   )
                Defendant.                         )

           REBUTTAL EXPERT DECLARATION OF JOHN M. FELAND, III, PH.D

       1.       My name is John M. Feland, III, and I have been retained as an expert by Tucker

Ellis LLP on behalf of Defendant Winston Products LLC (“Winston”) in the above-captioned

lawsuit.

       2.       I provide this declaration in response to the “Declaration of Dr. James L. Glancey

Regarding Claim Construction of U.S. Patent Nos. 10,174,870; 10,890,278; and 11,608,915” (the

“Glancey Declaration”). In this declaration I respond to Dr. Glancey’s opinions about how one of

ordinary skill in the art would interpret the following disputed claim terms and phrases from U.S.

Patent Numbers 10,174,870 (“the ‘870 Patent”), 10,890,278 (“the ‘278 Patent”), and 11,608,915

(“the ‘915 Patent”) (collectively, the “Patents-in-Suit”) which I understand Plaintiff asserts against

Defendant:

       GROUP A:

       “secured”

       “to couple”

       “coupled to”

       GROUP B:

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       “said inner and outer tubes unsecured between said first and second ends so that said
       outer tube is not held in frictional contact with said inner tube so that said outer tube
       can move freely along said inner tube”

       “said inner tube is unsecured to said outer tube between said first and second ends so
       that said outer tube can move freely over said inner tube”

       “said flexible inner tube unsecured to said flexible outer tube between said first and
       second ends so that said flexible outer tube can move freely over said flexible inner
       tube”

       GROUP C:

       “a first restrictor sleeve secured to said first end of said inner and said outer tubes”

       “a first restrictor sleeve secured to said first end of said flexible inner tube and said
       flexible outer tube”

       “a second restrictor sleeve secured to said second end of said inner and said outer
       tubes”

       “a second restrictor sleeve secured to said second end of said flexible inner tube and
       said flexible outer tube”

       GROUP D:

       “a first securing device securing said first restrictor sleeve, said outer tube, and said
       inner tube to said first coupler”

       “a first securing device securing said first restrictor sleeve, said flexible outer tube,
       and said flexible inner tube to said first coupler”

       “a second securing device securing said another expansion restrictor sleeve, said outer
       tube, and said inner tube to said second coupler”

       “a second securing device securing said second expansion restrictor sleeve, said
       flexible outer tube, and said flexible inner tube to said second coupler”

(collectively, the “Disputed Claim Terms”).

       3.      I understand that the parties reached agreement on construction of the following

claim terms:

       •       “first coupler” means “a first connecting device/fitting”


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        •       “second coupler” – “a second connecting device/fitting”

        •       “extend around an outer circumference of said hose” means “extend around the
                outside of the hose”

(collectively, the “Agreed Claim Terms”).

        4.      In reaching my opinions expressed in this declaration, I have reviewed and

considered the Glancey Declaration and the materials cited therein, as well as the Patents-in-Suit,

their file histories and the dictionaries cited herein.

        5.      My opinions are independent and are based upon my professional knowledge and

experience.

I.           BACKGROUND AND QUALIFICATIONS

        6.      As described more fully in my curriculum vitae attached as Appendix B, I received

my Bachelors of Science in Mechanical Engineering from the Massachusetts Institute of

Technology in 1994. Thereafter, in 1996, I received my Masters of Science in Mechanical

Engineering from Stanford University in Stanford, California. In 2005, I received my Ph.D. in

Mechanical Engineering from Stanford University in Stanford, California.

        7.      I am currently a Principal Strategic at CableLabs, a non-profit think tank for the

broadband industry. I pursue a mixture of quantitative and qualitative research on consumer

behaviors and preferences. I also coach innovation teams and work extensive in Artificial

Intelligence Strategy.

        8.      I also maintain Argus Insights Inc. While initially started to commercialize my PhD

research connecting good design to good business, the company has pivoted in the last six years

to be a market research and expert witness consulting firm.

        9.      I have been practicing as an engineer since 1991 across a range of industries and

roles. While working at Dart Container Corporation in Mason, Michigan, I was involved in testing

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and evaluating a hydraulic press designed to aid in the recycling of polystyrene in quick serve

restaurants. I also worked on paper cup printers which also contained hydraulic subsystems. These

hydraulic systems required me to work with high pressure hydraulic hoses in the design, operation

and evaluation of these systems.

        10.      During my time working at Symyx Technologies, I was responsible for designing

fluid condition sensors using MEMS technology for various applications. These applications

included measuring the oil condition within automotive engines, assessing the ratio of lubricant

and coolant for large HVAC systems, and assessing oil condition within hydraulic systems. Part

of my responsibility was the design of the sensor housing that could couple into fluidic systems

for fluid condition assessment, including the design of threaded couplers similar to the Patents-in-

Suit.

        11.      As a design engineer at IDEO Product Development, I worked on the design and

testing of multiple fluid management systems, including urinalysis equipment, fluid controllers for

a blood testing device, and bioreactors for growing artificial skin for burn victims.

        12.       While CEO of Argus Insights Inc. I created and utilized consumer analytics tools

that ingested millions of consumer reviews across a broad swath of consumer products, including

smart home devices. Some these products were for controlling or sensing fluidic systems, such as

smart sprinkler systems from companies like Rachio or smart water cutoff valves from companies

such as Moen. In the analysis of these products, I was able to develop an understanding how

consumers interface with home fluidic systems, where they found challenges and where there were

opportunities.

        13.      I have also been a professor of mechanical engineering at the United States Air

Force Academy and Stanford University. I taught courses in mechanical design, solid mechanics,


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design process, as well as capstone sequence. While at the Air Force Academy, I also was the

advisor of the Formula SAE Mini Baja which included the design, testing and implementation of

hydraulic braking systems.

       14.     As a high school teacher at the Nueva School, I taught an introduction to

mechanical engineering course that covered topics in mechanical systems, solid mechanics,

thermodynamics, and fluid mechanics. The section on fluid mechanics included the design and

analysis of simple water transport systems.

       15.     Prior to my time as a practicing engineer, I worked extensively on the family farm

in rural Arkansas. We had an almost one-acre garden, almost one hundred head of cattle, three

horses, and two chicken houses in which we raised, from baby chicks, almost 30,000 chickens

every six weeks for Tyson Foods. We routinely used garden hoses to irrigate the garden and fill

water troughs for cattle and horses. Within the chicken houses, garden hoses are used throughout

the lifecycle. When chicks are young, they cannot drink from the same watering system that is

used by adolescent chickens. These smaller watering systems are attached to sources of water

using garden hoses and temporarily dispersed through the chicken houses. These were used only

for a few days during each batch of chickens and required that we couple and uncouple multiple

lengths of garden hose. Additionally, the watering systems used by the adolescent chickens would

be lowered from the ceiling. These watering troughs were connected to water sources by hoses as

well. We would also use garden hoses to clean out the feeding and watering equipment used by

baby chicks as well as other routine tasks around the chicken houses.

       16.     Since leaving the family farm, I have continued, with a few gaps based on living

situations, to be involved in some sort of yard work or garden tending that required the use and

maintenance of garden hoses. Additionally, I have developed skills within home plumbing,


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including methods of securing both plastic and copper pipes for fluid transport.

       17.     I also have experience as an inventor. I have been granted 5 U.S. and related foreign

patents relating to the use of MEMS sensors to assess the viscosity and density of fluids used in

various industrial contexts, including HVAC systems, hydraulic systems and automotive engines,

as well as patents related to the design and use of capacitive sensors that are user interface elements

in consumer electronics.

       18.     My current professional affiliations include the MIT Alumni Group, the MIT Club

of Northern California. In the past, I have been affiliated with the MIT-Stanford Venture group as

an Executive board member. In the past, I was also active in the American Society of Mechanical

Engineers, the American Society of Engineering Education and was a founding member of the

International Design Society. Additionally, I was also on the board of advisors of the Stanford

Center for Critical Foresight.

       19.     The following is a list of key awards and honors throughout my career.

                  Red Dot Design Concept Award winner for the Onyx Mobile Phone Concept,
                   world’s first functioning multitouch mobile phone experience (2006)
                  Guest Editor of Special Issue on Innovation for the International Journal of
                   Engineering Education (2004)
                  ASEE Apprentice Faculty Grant Winner (2003)
                  ASME Curriculum Innovation Award, Honorable Mention (2002)
                  Air Force Commendation Medal, First Oak Leaf Cluster (2001)
                  Top Junior Faculty of USAFA School of Engineering (2001)
                  Who’s Who in the World and America
                  Instructor of the Quarter, Department of Engineering Mechanics (2000)
                  Joint Achievement Medal (1999)
                  Air Force Commendation Medal (1999)
                  Joint Analysis Center Most Valuable Contributor Award during week 5 of
                   Operation Allied Force in Kosovo (1999)
                  Merit Award, Lincoln Foundation Design Competition (1996)
                  Professor of Aerospace Studies Award for Top Senior Air Force ROTC Cadet
                   from MIT, Harvard, Tufts, & Wellesley (1994)

       20.     My publications in the last ten years were mostly research reports and marketing

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pieces for Argus Insights. A full list of publicly available publications is available upon request.

          21.    During the previous four years, I have testified as an expert by deposition or trial

in the following matters:

         Nine Stars Group USA Inc. v. Factory Direct Wholesale, LLC, Case No. 2:18-cv-06471-
          PSG-PJW, (US District Court, Northern District, CA)
         ANCORA TECHNOLOGIES, INC., v. LG ELECTRONICS INC. and LG ELECTRONICS
          U.S.A., INC., Civil Action No. 1:20-cv-00034-ADA (United States District Court For The
          Western District Of Texas Austin Division)

          22.    I am being compensated at the rate of $500 an hour for my work on this matter, and

$250 per hour for travel time. It is my understanding that IMS Expert Services, through which I

was engaged for this matter, receives an administrative and finder’s fee but I am not aware of the

amount. My compensation has not influenced my view on any of these matters and does not

depend in any way on the outcome in this case.

II.       LEGAL PRINCIPLES

          23.    I am not an attorney, but for purposes of this declaration I have been apprised by

Defendant’s counsel of certain legal principles that are relevant to my analysis and opinions.

          24.    First, I understand that before a determination on infringement or validity of a

patent can be made, the claims themselves must be construed by the Court in a process called claim

construction. I understand that the purpose of claim construction is for the Court to clarify and

when necessary to explain what the patentee covered by the claims, for use in the determination

of infringement.

          25.    I understand the claim construction analysis begins with the ordinary meaning of

the disputed term or phrase, and that there is a presumption that claim terms carry their accustomed

meaning to persons of ordinary skill in the art. I have been informed that the ordinary meaning of

a claim term is determined by reviewing a variety of sources that make the claim construction

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hierarchy.   In particular, one looks to the claims themselves, then the specification and the

patent’s prosecution history. I understand these sources constitute the intrinsic evidence.

       26.     I further understand that the intrinsic evidence is the single best guide to a claim

term or phrase’s meaning as it can clarify what meaning the patentee intended a term or phrase to

have. That being said, I understand that generally, limitations from the specification, such as

certain embodiments, cannot be imported into the claims.

       27.     I have been apprised that courts can look next to extrinsic evidence which includes

dictionaries and treatises as well as expert testimony, such as my own. Dictionary definitions may

help establish the plain and ordinary meaning of claim terms, but reference should also be made

to the intrinsic record to determine which dictionary definitions are most appropriate in light of

the use of the terms or phrases by the inventor. I also understand that extrinsic evidence is given

less weight than the intrinsic record in construing claims.

       28.     I understand that while interpreting patent claims, every word and every provision

is to be given effect. In other words, terms and phrases within the same claim are presumed to have

different meanings to avoid redundancy. Further, I understand that the meaning of every word and

phrase is presumed to be consistent between the all of the patent claims. Finally, I understand that

different claims are presumed to have different meanings and therefore cover alternative or more

narrow embodiments of the claimed invention.

       29.     I understand that a patent is required to include a written description using full,

clear, concise, and exact terms consistently throughout the written description so that the invention

is communicated to the interested public in a meaningful way. Further, the written description must

enable a person of ordinary skill in the art (a “POSITA”) to make or use the invention. In other

words, the written description of the patent must include enough detail such that a POSITA is


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sufficiently enabled to practice the invention without undue experimentation.

        30.     Finally, I understand that claim terms may need to be interpreted under 35 U.S.C.

§ 112(f) (or pre-AIA 35 U.S.C. § 112 sixth paragraph). This provision may be invoked when a

claim limitation includes a means for performing a specified function without the recital of

structure. Claim limitations are most commonly construed under § 112(f) when they specifically

include means-plus-function language. Claim limitations can also be construed under this

provision, however, if they include a generic placeholder that is coupled with functional language

without reciting sufficient structure to perform the recited function and the generic placeholder is

not preceded by a structural modifier. When a claim limitation is interpreted under 35 U.S.C. §

112(f) (or pre-AIA 35 U.S.C. § 112 sixth paragraph), the limitation can be construed to cover only

the corresponding structure(s) that is described in the written description of the patent and

equivalents thereof.

III.    LEVEL OF ORDINARY SKILL IN THE ART

        31.     I understand that my assessment of the Disputed Claim Terms must be conducted

from the perspective of what would have been known or understood by a POSITA reading the

patent on its relevant filing date and in light of its prosecution history. I understand the priority

date for the Patents-in-Suit is November 4, 2011.

        32.     To determine the appropriate level of skill for a POSITA, I understand the

following factors may be considered: (1) the types of problems encountered by those who work in

the field and prior art solutions thereto; (2) the sophistication of the technology in question and the

rapidity with which innovations occur in the field; and (3) the education level of the workers in

the field as well as the inventor.

        33.     Dr. Glancey opines that a POSITA as of the priority of the Patents-in-Suit would,


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in effect, be a relatively novice engineer, i.e., one who “would hold a Bachelor’s Degree in

Mechanical Engineering or a closely related technical field and would have at least two years of

experience in the manufacture, design and/or the application and use of hoses for various types of

fluids.” (Glancey, Para 39). He goes on to describe that this person would be “capable of

performing various design tasks and would understand the basic mechanical and fluid features and

operation of expandable and contractible hoses; this hypothetical person would also have at least

a basic knowledge of fluid mechanics, solid mechanics, and materials science and engineering as

they relate to hoses and how hoses generally function to convey fluids from one place to another.”

(Glancey, Para 39).

       34.     Given the typical lifecycle involved in the design, manufacturing and sales of

consumer products, Dr. Glancey’s POSITA would likely have only a single product lifecycle of

experience regarding this technology, lacking the benefit of learning from mistakes with prior

product launches or having sufficient knowledge of how consumers are using this technology.

Additionally, Dr. Glancey describes the necessary skills in broad, vague terms, taken from a

generic mechanical engineering curriculum and then rapidly narrowing to the field of hoses

without detailing the types of knowledge necessary for this technology.

       35.       In my opinion, a POSITA would require more skills and knowledge than what is

indicated by Dr. Glancey’s proffered definition of a POSITA to be able to effectively practice the

techology taught by the Patents-in-Suit. For example, the knowledge required to select the right

material and thickness for the inner tube requires the POSITA to understand in depth the field of

elastomeric polymers, specifically polymer compounds that meet the requirements taught in the

patent to expand laterally by six times its original length while sustaining the flow of liquid at

pressure. Additionally, since this technology is designed to be reusable, a POSITA would have to


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understand how to select a material that can be repeatedly elastically deformed without degrading

to the point of failure. While Dr. Glancey’s relatively recent mechanical engineering graduate

might understand the theory behind solid mechanics that governs these necessary skills regarding

the technology in the Patents-in-Suit, it is only with more experience beyond undergraduate and

two years of experience, directly with elastomers that a POSITA would be sufficient skilled to

reduce this technology to practice.

       36.       Dr. Glancey also neglects to detail the differences between the hose types

disclosed in the Patents-in-Suit and his generic treatment of hoses. For example, the design and

use of high pressure hydraulic hoses, used in such systems as earth moving equipment, farm

machinery, and waste compactors in the retail and restaurant industries, require a very different

set of engineering skills than for the hoses taught in these patents. The specification focuses on

the transport of water in garden hoses or for fire hoses and suggest pressures around 60 psi from

household sources of pressurized fluid. Industrial hydraulic systems require hoses that can

transport fluids at thousands of psi, often 100 times greater than the example 35 psi at said second

end cited in the specifications. These high-pressure hoses, while designed to be flexible along

rotational degrees of freedom so that the fluid can be routed around the hydraulic system with

minimal pressure loss, are designed to minimize lateral and longitudinal flexibility, given the high

pressures and requirements to design for factors of safety of 4 to 1. If the hydraulic system is

supposed to transport hydraulic fluid at 6000 psi, then the hose must be able to withstand pressures

of up to 24,000 psi, which is 400 times higher than that of the household source of pressurized

fluid cite in the specification. Dr. Glancey’s POSITA, having only spent their two years working

experience on hydraulic hoses (which are explicitly required to minimize expansion laterally and

longitudinally), would not have the experience with the materials or manufacturing of what is


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required for the technology disclosed in the Patents-in-Suit. As such, Dr. Glancey’s definition of

a POSITA “would have at least two years of experience in the manufacture, design and/or the

application and use of hoses for various types of fluids” is too broad for purposes of accurately

characterizing a POSITA capable of reducing the technology disclosed in the Patents-in-Suit to

practice. (Glancey, Para 39).

       37.        Aside from hydraulic hoses, Dr. Glancey’s broad, imprecise descriptor of

experience with “various types of fluids” in his definition of POSITA would appear to include

gases such as those used in semiconductor manufacturing, or even compressed air hoses used in

machine shops. Handling gases is very different than handling liquids. In the area of industrial

gases used in semiconductor manufacturing, the hoses must be designed to be utilized in a clean

room environment, where materials must be selected based on their ability not to shed excess

particles which could contaminate the semiconductor manufacturing process. Within the design

of compressed air hoses for used in shop situations, similar to the design of hydraulic hoses,

minimizing the lateral and longitudinal elastic deformation is critical to the operation of tools.

Hoses used in these rugged environments such as machine shops prioritize wear and crush

resistance over repeated expansion or contraction. A person with only two years designing hoses

for the transport of fluids in a gaseous state would not have sufficient skill to reduce this technology

disclosed in the Patents-in-Suit to practice.

       38.        Dr. Glancey paints broad strokes in his description of the manufacturing skills

required, describing a POSITA needing to “have at least two years of experience in the

manufacture, design and/or the application and use of hoses for various types of fluids”. (Glancey,

Para 39). As detailed above, for these Patents-in-Suit, a POSITA would have to understand the

design, selection and manufacturing of elastomers. Additionally, in order to couple to standard


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sources of pressurized fluids, the “first coupler” and the “second coupler” described in the Patents-

in-Suit would typically be made from metal in order to not only match the material they are

coupling to but also hold up to the rigors of use. Typically, these are made of brass but can also

be made of multiple types of metals that are both able to sustain the design requirements and low

cost enough to be manufactured in scale for consumer products.               The normal method of

manufacturing these metal components is casting, which requires pouring metal in a liquid state

into a mold, allowing it to cool, and then performing some post processing machining to ensure

the interfaces, such as threads on the first coupler or the tube extension taught in both the first and

second coupler, are within the design tolerances. As the couplers taught in these patents are likely

custom manufactured, the POSITA reducing this to practice would require knowledge of metal

casting and metal machining to properly select, design and manufacture the components required

for this claimed hose. Dr. Glancey makes no mention of these critical skills in his definition of a

POSITA.

       39.        Should the POSITA choose to use rigid polymers instead of metal for the design

of the couplers, then the POSITA would need a depth of knowledge of polymer materials,

manufacturing methods such as injection molding, and the types of additives necessary to ensure

the rigid polymers perform to the level of the metals they are replacing. Given the embodiments

mentioned in the specification, namely use as a garden hose or fire hose, these are both outdoor

use cases, the polymers selected would have to be UV stabilized as most polymers degrade with

exposure to the sun. Additionally, as plastics tend to have lower yield strengths than metal, many

engineers would consider reinforcing the polymers with fiber glass or carbon fiber to boost the

yield strength of the material. Dr. Glancey cites none of this necessary knowledge of rigid

polymers. Furthermore, once the rigid polymer is selected, a POSITA would have to understand


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how to design the injection mold to craft such a component as the “first coupler.” Threads can be

added to casted metal parts by machining the part after it is casted. To do so with rigid polymers

after molding would be both cost prohibitive as fiber reinforce polymers are both difficult and

dangerous to machine. The best method of ensuring the required features, such as the female

threads on the “first coupler” or the "male threads on the “second coupler,” would be to design the

mold so that these features are molded at the time of injection instead of post molding machining.

These features require complex mold design, requiring multiple pieces, intricate pulls, and rotating

elements that unscrew from the finished component so that it can be ejected. Dr. Glancey’s broad

requirement to understand manufacturing of hoses ignores the critical knowledge of rigid polymers

and how to manufacture components with these polymers.

        40.        The specification describes the assembly process by which the various

components are put together. This assembly process details a complex set of steps in which the

POSITA would need to design the manufacturing jigs necessary to complete the process as

specified below and to do so in a manner that reduces the cost of assembly, potentially through

automation.

    •         “During the assembly of the hose in the preferred embodiment a ten-foot elastic inner
              tube 14 in its relaxed or contracted condition is inserted into the hollow interior of a
              50-foot non-elastic outer tube 12. The ten-foot inner tube 14 and the 50-foot outer
              tube 12 and the expansion restrictor sleeve 27 are then all attached and secured
              together on a coupler at the first end. The ten-foot inner tube is then stretched or
              expanded through the hollow interior of the outer tube 12 until the elastic inner
              tube 14 is expanded to 5 times its relaxed or contracted length. At this point in the
              assembly process the expanded elastic inner tube 14 and the non-elastic outer
              tube 12 are both clamped down and the inner tube 14 and the outer tube 12 are both
              50 feet long. The inner tube 14, and the outer tube 12 and the expansion restrictor
              sleeve 27 are then attached and secured together to the coupler at the second end while
              the hose is still in the expanded condition. As previously stated, the elastic inner
              tube 14 and the non-elastic outer tube 12 are only attached and secured together at the
              first end and the second end. The inner tube 14 and the outer tube 12 are unattached,
              unbonded, unconnected and unsecured along the entire length of the hose between the
              first end and the second end so as to allow the inner and outer tubes to move relative

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             to each other between the couplers. This allows the non-elastic outer tube 12 to move
             freely with respect to the inner tube 14 along the entire length of the hose between the
             couplers on the first end and the second end.” (‘870 Patent [12, 46 – 13, 5]).

       41.     The assembly process requires first that the “first coupler,” an expansion restrictor

sleeve, and the first end of both the inner tube and the outer tube to be affixed or attached firmly

so they cannot be removed from each other. This process likely requires a manufacturing jig to

temporarily hold the components together while this securing process is taking place.

Manufacturing jigs are devices used to temporarily fixture components together during

manufacturing and assembly processes to both reduce the assembly time and to ensure the

tolerance requirements are met, such as how much of the inner and outer tubes overlap with the

tubular extension in the first coupler. During the next step, where the inner tube is stretched to

fifty feet before the second coupler can be attached, the inner tube must be coupled to another jig

in such a way that when the second coupler, expansion restrictor sleeve, and the second end of

both the inner tube and outer tube are affixed or attached firmly so they cannot be removed from

each other. The patents claim a single “securing device” that is used to secure the components of

both the first end and the second end. When the components of the first end are secured together,

the inner tube is in an unstretched state according to the specification cited above, where the wall

thickness of the tube is the greatest. As the inner tube is elongated during the second step, the wall

thickness decreases as it is stretched to fifty feet. This creates additional requirements for the

stretching tooling. The mechanism by which the inner tube is stretched from 10 feet to 50 ft has

to simultaneously ensure a portion of the inner tube at the second end remains unstretched so that

the same “securing device” used to secure the components of the first end can be used to secure

the components of the second end. As the details of these manufacturing jigs and stretching tooling

are not detailed anywhere in the patent, a POSITA would also need to be skilled, under Dr.


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Glancey’s broad view of being skilled in the “manufacture, design and/or the application and use

of hoses for various types of fluids” (Glancey, Para 39), in the design, manufacture and use of the

necessary manufacturing jigs and tooling. However, Dr. Glancey’s proposed definition is not

specific enough to describe how a person with only two years of experience would have such skills.

       42.      While the Patents-in-Suit do not identify the material used in expansion restrictor

sleeve, it is likely made from polymers or metal, given the needs for mass production. Similar to

the design of the first and second coupler, an expansion restrictor sleeve made from polymers

would likely be made by injection molding, using polymers that have been modified to be more

UV resistant.     If an expansion restrictor sleeve is made from metal, there are multiple

manufacturing methods that could be used to create the tapering shape described in the Patents. A

larger tubular piece of metal could have material removed from both the interior of the tube and

the exterior of the tube to create the proper profile required. This material removal could be

accomplished on a lathe, manual or computer numerically controlled (CNC). There is a specialized

high speed manufacturing method called a screw machine, that consists of multiple material

remove or material deformation stages, typically used in the manufacturing of screws, that could

produce components meeting the profile requirements. Another method would be the use of

swaging, or plastically deforming a tube of metal to meet the desired taper profile. Whether

polymer or metal, these are specialized manufacturing methods not common nor required in

mechanical engineering curriculums but are critical knowledge in reducing these patents to

practice. Dr. Glancey fails to address this skill gap in his definition of a POSITA.

       43.      Claim 1 of the ‘870 Patent and claim 1 of the ‘278 Patent require the outer tube to

be made of fabric. A typical mechanical engineering curriculum does not include coursework on

the design, manufacturer and or use of fabric. Dr. Glancey neglects to mention this critical skillset


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required by Claim 1 in his definition of a POSITA. Fabric is generally made by integrating fibers

in one of four ways. Other means of manufacturing fabric may be used, but the following methods

are the most used. First is weaving fibrous material orthogonal to each other, intertwining weft

fibers between repeated lengths of warp fibers. Second is the creation of fabric by knotting a

continuous strand of fiber, typically knitting or crocheting. Third is braiding multiple continuous

strands in a pattern that resists unraveling, typically used for making rope or cordage. Finally, is

felting, in which fibers, such as wool, are agitated together to encourage the fibers to fluff and

intertwine in manner not easily reversed, forming a mat of fabric. These methods can be used with

natural fibers, polymers or even metals. The material selection has a significant impact on which

fabric manufacturing method is used and how the resulting fabric performs in the application

taught in these patents. Dr. Glancey’s POSITA would be unable to reduce even the first claim to

practice because his definition lacks the critical knowledge of fabric.

       44.     In light of the broad and vague description of Dr. Glancey’s POSITA, I propose

that a POSITA in connection with the Patents-in-Suit would hold a Bachelor's Degree in

Mechanical Engineering or a closely related technical field and would have at least four years of

experience in the manufacture, design and/or the application and use of hoses for various types of

liquids. This hypothetical person would be capable of performing various design tasks and would

understand the basic mechanical and fluid features and operation of expandable and contractible

hoses; this hypothetical person would also have at least a basic knowledge of fluid mechanics,

solid mechanics, and materials science and engineering as they relate to hoses and how hoses

generally function to convey fluids from one place to another. This hypothetical person would also

have an understanding of how to design components of both rigid and elastomeric polymers,

including the requirements to design for injection molding of rigid polymers, and selection of


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elastomers and the design of components utilizing those elastomers. This hypothetical person also

requires an understanding of cast metal manufacturing along with post process machining of metal

components made with this process.         Additionally, this hypothetical person would have to

understand how to specify and source fabrics for the manufacturing of the outer hose, made by

weaving, knitting, or braiding. Finally, this hypothetical individual would need to understand how

to design, manufacture and utilize manufacturing jigs required to secure the components together

for scale manufacturing of the hoses.

        45.     I was at least a POSITA as of the priority date of the Patents-in-Suit (i.e., 2011).

        46.     My opinions concerning the claim terms of the Patents-in-Suit are from the

perspective of a POSITA, as set forth above, at the time of the invention.

IV.     THE PATENTS-IN-SUIT

        47.     Each of the Patents-in-Suit professes to teach a POSITA how to create an expanding

hose and a method of creating and using an expanding hose. The first independent claim in all

three patents details a hose, constructed by securing an “inner tube” and an “outer tube” to a

“coupler.” The “inner tube” is elastic such that it stretches when filled with pressurized fluid, up

to six times its original length.

        48.     The “inner tube” is analogous to the balloons used to create balloon animals. As

they are filled with a pressurized fluid, in this case air from the lungs of the balloon artist, these

balloons can expand laterally (in diameter) and longitudinally (in length). The balloon artist has

to be careful not to over pressurize the balloons with pressurized fluid as the wall may burst from

being too thin or the securing knot at the end of the balloon could be destroyed by the pressure.

When balloons, like the “inner tube” of this hose, are pressurized and are free to expand laterally

and longitudinally, the wall thickness reduces along the length of the pressurized elastic tube. This


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thinning of the tube’s wall is not always uniform based on variation and defects within the

manufacturing of elastic tubes.

       49.     The primary claim contains two elements purported to keep the elastic “inner tube”

from bursting under high pressure—an outer tube and restrictor sleeves. The first claim details a

requirement for an “outer tube” that is “secured to” a “first coupler” and a “second coupler” or

fittings at both ends of the hose and that slides or moves freely over the “inner tube.” This “outer

tube” acts as a limitation on the expansion of the “inner tube,” both laterally and longitudinally.

As the “inner tube” becomes filled with pressurized fluid, it eventually expands until it contacts

the “outer tube’s” inner diameter. In other words, the “inner tube” expands to the limits of the

“outer tube’s” inner diameter and beyond, depending on the material of the “outer tube.” The

Patents-in-Suit teach that the “outer tube” is fabric, which depending on the construction, can

stretch laterally and longitudinally. For the hose to function properly, the flexible nature of the

fabric “outer tube” would need to be such that the expansion and elongation of the “inner tube”

would be limited by the outer tube so that the wall thickness of the pressurized inner tube would

be well below the yield or failure point of the material. The “outer tube,” when assembled

according to the claim, prevents the “inner tube” from bursting when under pressure during normal

use.

       50.     Oddly, all three patents use phrases such as “said inner and outer tubes unsecured

between said first and second ends so that said outer tube is not held in frictional contact with said

inner tube so that said outer tube can move freely along said inner tube” ‘870 Claim 1, or “said

inner tube is unsecured to said outer tube between said first and second ends so that said outer tube

outer tube can move freely over said inner tube” ‘278 Claim 1, and finally “said flexible inner tube

unsecured to said flexible outer tube between said first and second ends so that said flexible outer


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tube can move freely over said flexible inner tube.” ‘915 Claim 1. A POSITA would understand

all of these phrases to mean the same thing—that the outer tube that is not held in frictional contact

(can move freely) on top of the inner tube. Yet for the strain relief benefits of the outer tube to be

realized when the inner tube is filled with pressurized fluid, then the outer tube is in frictional

contact with the inner tube and prevents the outer tube from moving freely over the elastic inner

tube.

        51.    The Patents-in-Suit also teach that the first end has to be “coupled to” a source of

pressurized fluid to be filled with pressurized fluid. In the main embodiment represented in the

Patents-in-Suit, this “first coupler” is a threaded fitting (Figs 1, 3, 8) that couples to the source of

pressurized fluid. If the coupler is not removably connected to the source of pressurized fluid,

then the hose would be attached firmly so it cannot be removed to the source of pressurized fluid.

Otherwise, if the couplers were removably connected to the inner and outer tubes, this would

reduce the utility of the hose. This “first coupler” is attached firmly so it cannot be removed from

the “inner tube” and the “outer tube.” Unlike the description of the coupling of the “first coupler”

to the pressurized fluid source being threaded, there is no mention as to how the “first coupler” is

“secured” to the inner and outer tubes, other than by a “securing device” (a nonce term). This is

important to the claimed hose because methods known to a POSITA for securing a coupler and

two tubes, such as clamping or swaging, rely on the materials being secured to be of a uniform

thickness. As we established above, the “inner tube” is elastic and as it is pressurized, the tube

wall thickness decreases as the pressure increases. This is a dynamic situation that requires either

a known securing method or a novel securing device at the first and second ends that teaches the

means to maintain a secure connection that is robust and able to adapt to changes in wall thickness.

Additionally, if this connection between the “first coupler,” the “inner tube” and the “outer tube”


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was merely “coupled,” that is to say, removably connected like the “first coupler” is to the source

of pressurized fluid, it would be difficult for an ordinary hose user to consistently and repeatedly

couple these three different components, while preserving the ability of the hose to perform as

taught because of the dynamic character of the wall thickness of the “inner tube” through

successive expansion and contraction cycles.

       52.     The second end of the claimed hose also has a “coupler.” The first claim also

teaches that there is a “flow restrictor” “coupled” with the “second coupler.” Because words used

in claims need to maintain the same meaning throughout the claims, this suggests that the “flow

restrictor” is removably connected to the “second coupler.”

       53.     The “flow restrictor” is critical to the operation of the hose as taught. Without the

“flow restrictor,” the inner tube may not be sufficiently pressurized to elongate and/or expand

during use. If there is no “flow restrictor” such as a nozzle at the second end of the hose, opposite

of the first end where the “first coupler” is removably connected to the source of pressurized liquid,

the Bernoulli Principle suggests that there would be insufficient pressure drop across the hose for

the hose to elongate. While there is a pressure drop along the length of the hose due to head loss,

effectively friction between the fluid and the hose itself, this pressure drop does not exert itself on

the walls of the “inner tube.” Returning to our balloon analogy above, if the balloon had a hole at

one end, it would not inflate. The balloon inflates because the internal pressure is greater than

atmospheric pressure, creating a force that pushes on the internal surface of the balloon, hence the

units for pressure, pounds per square inch or in the metric system, Newtons per square meter. The

elastic nature of the skin of the balloon resists this force, causing the balloon to expand or elongate

laterally and longitudinally. A balloon stops expanding when the combination of atmospheric

pressure pushing back on the external surface of balloon and the contracting force of the elastic


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material of the balloon balance the internal pressure of the balloon. If there was then a sudden

opening of the balloon, all of the captured air under pressure would rapidly escape, finding its

equilibrium with the atmosphere, resulting in either the deflation or contraction of the balloon or

the yield or popping of the balloon material.

       54.     This claimed hose, during normal use, is like a balloon with openings at both ends.

When coupled to the source of pressurized fluid, the “flow restrictor” has to drop the pressure so

that the difference between the input pressure from the source and the output pressure at the second

end is sufficient to inflate the inner tube. Some balloons are harder to inflate than others, because

they have thicker walls, or are made of different materials with varying elastic materials. The

“inner tube” of this claimed hose is constrained by the same challenge, where the choice of

material, the contracted wall thickness, and its modulus of elasticity are critical to successfully

reducing this to practice. Select a material that has extensive hysteresis after being inflated and

deflated multiple times and the hose will fail to contract to its original length. Pick a wall thickness

that is too thick, and the source pressure will be insufficient to elongate the hose. Should the wall

prove to be too thin, then the “inner tube” may burst before reaching the diameter of the “outer

tube.” Select a material with a modulus of elasticity that is too large and the hose may not elongate

enough for the stated purpose of the claimed hose.

       55.     Additionally, the design of the “flow restrictor” is critical. The example given in

the specification of coupling the hose to a household pressure at 60 psi, with an assumed flow rate

of 2.2 gallons per min, and expanded inner tube inner diameter of 0.609 in, would result in a flow

velocity of 2.4 ft per sec. The description of a coupled nozzle suggests that device reduces the

outlet pressure to 35 psi. Using Bernoulli’s equations, assuming the flow rate is maintained at 2.2

gallons per min, and the outlet pressure is 35 psi, then the flow restrictor diameter would have to


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drop to 0.121 in, with a resulting flow velocity of 61.1 ft per sec, almost 25 times faster.

        56.    The specification suggests that the “flow restrictor” detailed in the figures is

separate from “Other types of flow restrictors, such as hose nozzles, sprayers, etc. can also be

employed. Anything that controls the release of the liquid exiting the hose can be employed.” (‘870

[11, 1-3]). Nowhere does it teach how the flow restrictor specified differs from a nozzle or what

is the target pressure drop generated by that nozzle. Nor does it detail the impacts of narrow flow

restrictors on the performance of other attachments to the male end of the hose, such as nozzles or

sprayers.

        57.    Additionally, the language of the method claim on all three patents teach that the

“first coupler” is “secured to” the first end of the inner and outer tubes. Similarly, the “second

coupler” is “secured to” the second end of the inner and outer tubes. It goes on to teach that the

inner and outer tubes are “secured” to “each other” at the first and second ends, and “unsecured”

between the first and second ends. This contrasts with the terms used to describe how the first end

is coupled to the source of pressurized fluid; “connecting said first coupler to the source of

pressurized fluid;” (‘870 Patent Claim 16, ‘278 Patent Claim 15, ‘915 Patent Claim 14). It is

interesting that for the language used in both independent claims is consistent with “securing”

while the language of how the first coupler is connect to the source of pressurized fluid uses

synonyms, “coupling” and “connecting.”

V.      RESPONSE TO GLANCEY OPINIONS CONCERNING CLAIM
        CONSTRUCTION

        58.    Dr. Glancey believes that the claim terms under consideration do not require a

construction because, to his mind, their usage in the patent is “unambiguous and would have all

been easily understood by a POSITA at the time of the invention.” (Glancey, para 43).

        59.    I disagree with this statement. Dr. Glancey fails to explain what the ordinary

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meaning of the Disputed Terms is, as understood by a POSITA, taking into consideration the

claims, specification, and prosecution history of the Patents-in-Suit. He would have this Court

abdicate its role in construing the claims so that every claim term and phrase is used consistently

and avoids redundancy.

       60.     In my analysis below, I demonstrate how the Patents-in-Suit use the Disputed

Terms in very specific ways that are not consistent with Dr. Glancey’s claim that the Disputed

Terms do not require construction.

       61.     As discussed more fully below, because of the overlapping nature of terms like

“secured” and “couple” if the Court were not to construe them, as suggested by Dr. Glancey, this

would lead to an inherent ambiguity regarding their meaning and scope in the Patents-in-Suit, even

to a POSITA at the time of invention.

       62.     Furthermore, I illustrate how Dr. Glancey’s own analysis generates ambiguity on

these terms that are critical in understanding how to reduce this claimed hose to practice. (Glancey,

para 43).

       63.     The GROUP A terms are “secured to,” “to couple,” and “coupled to.” The

definitions of these terms are critical to understanding what is being taught by the claims. As the

words used in claims are meant to have distinct and important meanings to help those seeking to

reduce the claimed hose to practice, these terms cannot have the overlapping meaning suggested

by the words’ plain and ordinary meaning, as proposed by Dr. Glancey. The following analysis

details the distinct meaning of these words as taught by their use and context in the claims

themselves, as well as what is taught in the specification.

       64.     Contrary to what Dr. Glancey argues, the inventor uses the terms “to couple” and

“coupled to” throughout the entire patent to represent interfaces where the components of the


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interface removably connect to each other. The inventor describes in the specification the coupling

of the claimed hose to sources of pressurized fluid, the coupling of one hose to another, even the

coupling of a nozzle to the second end of the hose. In each of these uses of “to couple” or “coupled

to”, they represent a removable connection. Without these connections being easily removed and

replaced by the user, the utility of the claimed hose is defeated. As will be detailed below, the

Patents-in-Suit teach that “to couple” and “coupled to” is used only for removable connections.

       a) “It is still further objective of the present invention to provide a hose that can be readily
          coupled and uncoupled to a source of water such as a faucet on a house.” (‘870 [34-
          36]).

               i.      The use of “coupled” and “uncoupled” suggests a temporary and reversible

                       connection to the water source, as is common and obvious with garden

                       hoses. A hose “secured to” (i.e., affixed or attached firmly so it cannot be

                       removed from) the faucet would have limited utility to the user in

                       comparison to a hose that couples and uncouples from the home.

       b) “The threaded portion 28 is constructed to receive the male threads 20 and enable
          coupling of one hose to another” (‘870 [8, 52-54]).

               i.      The coupling of garden hoses is such that it allows two hoses to be

                       removably connected to each other, as enabled by the threaded portions on

                       the male and female couplers.

       c) “Most conventional garden hoses or other hoses are provided with a standard size
          female coupler or fitting which will engage and couple the hose 10 to the faucet or
          water outlet” (‘870 [8, 58-61]).

              i.       As mentioned above, the assumed standard hose configuration is of a

                       standard female coupler that removably connects the hose to the faucet or

                       water outlet.

       d) “said first coupler constructed to couple said hose to a source of pressurized liquid;”

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             (‘870 [15, 12-13]).

                i.      Even within the language of Claim 1, the term couple is used to describe

                        removably connecting the hose to a source of pressurized liquid.

       e) “a flow restrictor coupled to said second coupler” (‘870 [15, 21]).

                i.      Similarly, Claim 1 teaches that a flow restrictor, described as a nozzle or

                        other restrictor earlier in the patent, is coupled to, i.e., removably connected

                        to, a second coupler.

       65.      Throughout the Patents-in-Suit, the terms “to couple” and “coupled to” are used

exclusively to describe connections between interfaces that are removably connected. I disagree

with Glancey’s assertion that defining “couple” as “removably connected” unnecessarily limits on

the inventor’s language choice. To the contrary, Glancey’s misleading reference to the Webster’s

definition of the noun “coupling” (“1. n. a joining together”) (Glancey, para 47-48, citing

Webster’s New World Dictionary and Thesaurus) ignores the fact that “coupling” is not used in

the claims of the Patents-in-Suit at all and further ignores the extensive use of “to couple” and

“coupled to” in the claims of the Patents-in-Suit as a verb.

       66.      It is the action of removably connecting the interfaces of the hose, to and from a

faucet, to and from another hose, that Glancey fails to address in his arguments. Without the

specific context and meaning taught by the Patents-in-Suit (i.e., that “to couple” means to

removably connect), the claimed hose would be limited in its utility, potentially including

permanent attachment to a faucet or other hose. The very utility of the hose of Claim 1 and the

method of fluid transport taught in Claim 16 rely on “to couple” and “coupled to” meaning

“removably connected.”

       67.      Similarly, there are numerous dictionary definitions from 2011 or before that are


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consistent with construing “to couple” and “coupled to” as meaning “removably connected.” The

Color Oxford English Dictionary, 2011 (attached as Exhibit 1) defines the verb definition of

couple to be “To connect or combine”. An earlier edition of the Concise Oxford English

Dictionary, 2008, (attached as Exhibit 2) defines the state of being coupled to or with as “connect

(a railway vehicle or piece of equipment) to another.” An even earlier edition of the Oxford

English Dictionary, Second Edition Volume III (1989) (attached as Exhibit 3) defines the verb

use of couple with respect to mechanical systems as “to connect (railway carriages) by a

coupling.” These definitions are consistent with the proposed definition that “to couple” to be

“to removably connect” and “couple to” to mean “removably connected to”. In the Oxford

definitions “couple” as a verb is routinely defined as being “connect.” Oxford English (1989)

and Oxford Concise (2008) go on to use an example of a removable connection to define couple

as a verb, how one railway car can “couple to” or be “removably connected to” another car. Can

you imagine the railway industry if rail cars could not be “removably connected to” each other?

Rail freight would cease to function as designed as cars would be limited to connect to the trains

they are already connected to, requiring freight to be moved between cars rather than uncoupling

and recoupling cars between trains. This does not, as Dr. Glancey opines, limit the scope but

instead allows a POSITA to distinguish in the claim language the use of “to couple” or “coupled

to” from the use of “secured to.” To a POSITA, items using “couple” as its root term, are items

designed to removable connected to other items.

       68.     Dr. Glancey’s reference to extrinsic evidence of definitions for “secure” seem to be

bent on obfuscating the distinction between “to couple” and “secure” and would create further

ambiguity. This would call into question the choice of the terms within the claims, suggesting that

the inventor mistakenly did not draft the claims with sufficient clarity to teach the claimed hose.


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Dr. Glancey refers to how Webster’s New World Dictionary and Thesaurus “defines the word

‘secure’ to mean ‘to fasten’ or ‘tighten.” (Glancey, para 48). Dr. Glancey’s incomplete statement

mischaracterizes the actual definition and synonyms provided this Webster’s reference, which

actually states as follows. First, Webster’s dictionary definition of “secure” is:




Ex. B to Glancey Decl.

       Second, Webster’s thesaurus description is:




Id.

       69.     Dr. Glancey omits any discussion of the most applicable Webster definition of

“secure”, which is “to make firm, fast, etc.” and the most applicable synonyms of “secure” from

the Webster’s thesaurus, which are “[to fasten] settle, lock, bind”.

       70.     The claims in all three asserted patents mention in claim one that “said inner and

outer tubes unsecured between said first and second ends.” This differs extensively from the use

of “couple” elsewhere in the claims. Here, the inventor uses the term “unsecured” to describe a

situation where the inner tube and outer tube are not affixed or firmly attached to each other

between the first and second ends. The claims go on to describe this “unsecured” state as “said

outer tube is not held in frictional contact with said inner tube so that said outer tube can move

freely along said inner tube.” (‘870 Claim 1), “said outer tube outer tube can move freely over said

inner tube” (‘278 Claim 1) and “said flexible outer tube can move freely over said flexible inner

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tube” (‘915 Claim 1). This aligns with the proposed definition in terms of NOT “being affixed or

attached firmly.”

       71.     With respect to the term “secured to,” the Patents-in-Suit carefully separate the

concepts of securing components together from the notion of removably connecting components

or coupling these components. The following examples from the ‘870 Patent show how it teaches

that secured components are not meant to be removed from each other.

       i)      “FIGS. 7 and 8 illustrate how male and female couplers 16 and 18 respectively are
               secured to the hose of a preferred embodiment of the present invention.” (‘870 [10,
               57-59]).

              i. If the male and female couplers were removably connected to the hose, the patent

                    fails to teach how that would be accomplished, given the male coupler 16 is an

                    assembly that includes a threaded portion 20, a mid portion 22, tubular extension

                    32, and a portion 24 onto which are secured the inner tube 14, the outer tube 12,

                    and the expansion restrictor sleeve 26. The only description of how the inner

                    tube, outer tube and expansion restrictor sleeve are secured is a securing device

                    40 on the on the male coupler. Other than the securing device, methods such as

                    “clamping or swaging” could be used to secure the couplers to the inner tube,

                    outer tube and expansion restrictor sleeve. (‘870 [11, 13-16]). A POSITA would

                    know that these methods would require some portion of the coupler or securing

                    device to be deformed irreversibly. Moreover, the Patents-in-Suit do not teach

                    where that deformation takes place and how it is used to secure the inner tube,

                    outer tube, and expansion restrictor sleeve to the coupler.

              ii) Within the prosecution history of the ‘870 Patent, the examiner takes issue with

                    the lack of definition of how the couplers are secured to the inner tube, outer


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                     tube, and expansion restrictor sleeve. He cites McDonald, et al as an example

                     that the use of a securing device is obvious at the time of invention.

                     a. “In regard to the limitation recited in claims 7 and 12, the restrictor sleeves
                        are crimped onto the ends and therefore do not require additional securing
                        means. It would have been obvious to one of ordinary skill in the art at the
                        time the invention was made to substitute for crimping, a securing device
                        that extends around the outer circumference of the hose wherein it is known
                        in the art that a securing ring is an alternative means of securing a restrictor
                        sleeve onto ends of flexible hoses.” – Office Action, dated 9 Feb 2018, para
                        5, pg 8 (attached hereto as Exhibit 4).

               iii) Crimping, like swaging, requires plastic deformation of the components being

                     secured. As well understood by a POSITA, crimping is not a removable

                     connection, as repeated deformation is likely to result in the failure of the

                     connection, especially when the connection is under pressure as in the hose.

        72.     Accordingly, the claims are clear that the inner and outer tubes must be “secured

to” the first end and the second end of the hose. As taught above, this connection is secured when

the coupler is secured to all three components, the inner tube, the outer tube and the expansion

restrictor sleeve.

        a.      “The outer tube is secured to the inner tube only at the first end of the inner and
                outer tubes and at the second end of the inner and outer tubes.” (‘870 [Abstract,
                11]).

        b.      “The hose includes an expandable inner tube made from an elastic material and a
                separate, distinct outer tube made from an non-elastic material, positioned around
                the outer circumference and length of the inner tube and secured to the inner tube
                only at the first and second end.” ‘870 [7, 5-9]

        73.     If these connections were removably connected, the patent does not teach how to

accomplish this feat with such a complicated assembly of rigid materials and elastic materials that

change thickness during use. The patent mentions “clamping and swaging” as methods “to secure




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the male coupler to the inner tube 14, the outer tube 12, and the sleeve 26.” (‘870 [11, 14-16]). A

POSITA would readily understand that such methods are not removable connections.

        74.    For example, swaging requires the components being swaged to deform plastically,

not elastically, in order to maintain a seal during use. The most common use of swaging is with

copper pipe for household plumbing. The soft copper plastically deforms, create a larger diameter

outer pipe for the inner pipe to be joined to. These swage joints require soldering to seal the joint

against the pressure of the liquid inside. This results in a secure joint where the two pipes are

“affixed” and “cannot be removed.”

        75.    Hose clamps are another common method of connecting hoses for fluid transport.

Most common are the type where a screw head is connected to a worm gear that then tightens or

loosens a band of stainless steel around the pipes and/or hoses being secured. Hose clamps of this

variety are meant to be permanent attachments and require specific tools to loosen the clamp. They

are not designed for repeated coupling and uncoupling of components but for initial securing of

components intended only to be separated when extensive repair is required. These clamps tighten

around the outside of the two hoses and/or pipes being connected. Because the clamping force is

determined by the interior diameter of the clamp once it is in place, if the wall thickness of an

elastic hose being clamped changes substantially, then there is a significant chance the joint will

fail.

        76.    This invention requires the inner tube to elastically deform as it becomes filled with

water (i.e., pressurized fluid). This deformation manifests as an expansion both laterally and

longitudinally that results in a substantial thinning of the wall of the elastic inner tube. In the

example embodiment detailed in the specification, the unpressurized wall thickness of the elastic

inner tube is 0.125 inches. (‘870 Patent [14, 2]). The specification also provides a sample wall


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thickness in the expanded state of 0.031 inches. (‘870 Patent [13, 54-55]). At full expansion, the

wall thickness of the elastic inner tube is less than 25% of the original unpressurized wall thickness.

Using a traditional stainless steel hose clamp, there is a risk that over clamping is likely to cut into

the inner tube at the interface of the clamped and unclamped sections of the inner elastic tube,

resulting in a failure of the joint. If the hose clamp is undertightened, then the elastic inner hose,

when stretched to less than 25% of the original wall thickness, is likely to be pulled out of the

clamp, resulting in the unsecuring of the inner tube, the outer tube, and the coupler associated with

that end of the hose. As can be seen from these examples of swaging and clamping, it is imperative

that this ambiguity needs to be resolved by defining “secured” as “affixed or attached firmly so it

cannot be removed.”

       a.      “The outer tube is unattached, unconnected, unbonded, and unsecured to the inner
               tube along the entire length of the inner tube, between the first end and the second
               end, so that the outer tube can move freely with respect to the inner tube along the
               entire length of the inner tube between the first end and the second end.” (‘870 [7,
               10-16]).

       b.      As we have already shown that “to couple” means “to removably connect”, the use

               of unconnected could also be read as “uncoupled.” Using “unsecured” in the same

               sentence provide additional support that the inventor recognizes that “secure” and

               “couple” mean something different.

       c.      Figures 7 and 8, which depict the connection between the tubes and the couplers,

               are described as follows:

               i.   “FIG. 7 is a perspective view of a male coupler secured to an end of the hose of
                    the present invention when the hose is in its extended condition; and FIG. 8 is
                    a perspective view of a female coupler secured to an end of the hose of the
                    present invention when the hose is in its contracted condition.” (‘870 [7, 62-
                    67]).

              ii.   “FIGS. 7 and 8 illustrate how male and female couplers 16 and 18 respectively
                    are secured to the hose of a preferred embodiment of the present invention.”

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              (‘870 [10, 57-59]).




   d.     As can be seen in FIG. 7, the only component that supports removable connections

          are the threads 20 on the male coupler. We are taught that this is to “enable coupling

          of one hose to another.” (‘870 Patent [8, 54]). The element assigned the role of

          securing the tubular extension of the male coupler to the end of the inner and outer

          tubes is a securing device 34: “a securing device encompasses the outer sleeve 26,

          the outer tube 12, and the inner tube 14 and secures these elements to the tubular

          extension 34.” (‘870 Patent [10, 65-67]). There are no features visible on the

          securing device 34 that would suggest how it secures the male coupler to the tubes.




   e.     Similarly, in FIG. 8, the female coupler has visible threads 28 “constructed to

          couple to a faucet or water outlet on the exterior or interior of a house or residence.”

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               (‘870 Patent [8, 55-57]). It goes on to teach that “Most water faucets on homes or

               residences are provided with a standard size male coupler or fitting.             Most

               conventional garden hoses or other hoses are provided with a standard size female

               coupler or fitting that will engage and couple the hose 10 to the faucet or water

               outlet.” (‘870 Patent [8, 55-57]). The threads 28 confirm that this is a removable

               connection.

       f.      Like the male coupler, the tubular extension of the female coupler is secured to the

               inner and outer tubes with a securing device 40 that “encompasses the outer sleeve

               27, the outer tube 12, and the inner tube 14 and secures these elements to the tubular

               extension 36.” (‘870 Patent [10, 65-67]). There are no features visible on the

               securing device 40 that would suggest how it secures the female coupler to the hose.

       g.      In both FIGS. 7 and 8, there is a securing device that secures the male coupler and

               female coupler, respectively to their respective ends of the hose. To function as

               designed, the securing device must “affix or attach firmly” the couplers to the hose

               so they “cannot be removed” from the hose.

       77.     Similarly, there are numerous dictionary definitions from 2011 or before that are

consistent with construing “secured to” as “affixed or attached firmly so it cannot be removed

from”. Returning to the Color Oxford Dictionary, 2011 (Exhibit 1), the verb form of “secure” is

defined as “to firmly fix or fasten” and its adjective form extends to be defined as “fixed or fastened

so as to not give way, become loose.” Concise Oxford English Dictionary, 2008 (Exhibit 2) uses

the same adjective definition as “Fixed or fastened so as to not give way, become loose, or be lost.”

The verb form is defined using the adjective form as “to fix or fasten securely.” In the Oxford

English Dictionary, Second Edition Volume III,1989 (Exhibit 3), the adjective form “secured” is


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defined as “tied, joined, linked, or associated together in pairs” and/or “In senses of the verb:

assured; firmly fastened; rendered safe.” The verb form, “secure” echoes the definition in other

sources as “to make fast or firm.”

       78.      Each of these definitions aligns with the usage of “secured” within the claims to

“affixed or attached firmly so it cannot be removed.” This is true when the first coupler, the first

ends of the inner tube and outer tube are secured together. These components are attached firmly

to each other so they cannot be removed from each other.

       79.      Unlike the ambiguity created by Dr. Glancey’s approach, Winston’s proposed

definition is also consistent when the “securing device” is described as the means to ensure these

components, once attached firmly to each other, they cannot be removed. Even the antonym use

of “unsecured” within the claims describing the state that in the unpressurized state, the outer tube

is not “secured” to the inner tube. It is not “affixed” to the inner tube, nor is it “attached firmly.”

       80.      According, Dr. Glancey’s assertion that “secured to” does not need to be construed

is misplaced.    The proper construction, consistent with the claims, the specification, the

prosecution history, and the extrinsic evidence is “affixed or attached firmly so it cannot be

removed from”.

       81.      In summary, the proper construction of the Group A terms is as follows:

       • “secured to” – “affixed or attached firmly so it cannot be removed from”;

       • “to couple” – “to removably connect”; and

       • “couple to” – “removably connected to”.

       GROUP B:

       “said inner and outer tubes unsecured between said first and second ends so
       that said outer tube is not held in frictional contact with said inner tube so
       that said outer tube can move freely along said inner tube”


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       “said inner tube is unsecured to said outer tube between said first and second
       ends so that said outer tube can move freely over said inner tube”

       “said flexible inner tube unsecured to said flexible outer tube between said
       first and second ends so that said flexible outer tube can move freely over
       said flexible inner tube”

       82.     Dr. Glancey erroneously suggests that these phrases do not require construction and

that each phrase is defined by the language of the claim itself. The language in Claim 1 in all three

Patents-in-suit make explicit use of “couple” and “secure” in different context. In the context of

these phrases, the inventor uses the antonym of secure, “unsecured” to describe the relationship

between the inner tube and outer tube between the first and second ends. This aligns with the

proposed construction of “secure” as “affixed or attached firmly so it cannot be removed.” This

section of claims is teaching that prior to the “introduction of a flow of pressurized liquid through

said first coupler into said inner tube” (‘870 Patent [15, 22-23]) the outer tube, which is longer at

this pre-pressurized state than the inner tube, is able to slide freely along the inner tube. This is

possible because:

       “the 50-foot non-elastic outer tube 12 has many folds that are compressed and gathered
       around the 10-foot contracted and relaxed inner tube 14, the folded, compressed and
       gathered 50-foot outer tube 12 measures the same 10-foot length as the 10-foot contracted
       inner tube 12.” (‘870 Patent [13, 22-27]).

       83.     The gathering is possible because the diameter of the outer tube is 0.68 inches (‘870

Patent [13, 52]) and the diameter of the inner tube in the unexpanded state is 0.375 inches (‘870

Patent [14, 1]). The 0.305 inch difference in diameters results in a maximum gap between inner

and outer tubes in the unexpanded state of 0.1525 inches. Even considering the smaller diameter

of gather sections, there is still sufficient gaps between the inner and outer tubes to allow the outer

tube to move freely along the inner tube in an unsecured manner. The use of the term “unsecured”

here aligns with the view that the outer tube is NOT "affixed” NOR “attached firmly” to the inner


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tube “so it cannot be removed.”

        84.     The specification teaches that:

        “the radial expansion of the inner tube 14 is constrained by the maximum diameter of the
        non-elastic outer tube 12. (‘870 Patent [8, 32-33]) This suggests that when the inner tube
        is fully expanded, then it is in contact with the outer tube, in fact, actually constrained in
        its expansion by the inner diameter of the outer tube. For the constraint to function
        properly, the outer tube is required to be in frictional contact along the entire length of the
        tube. We are also taught that “since the outer tube 12 is non-elastic, the length and width
        of the outer tube 12 determines the length and width of the hose 10 in its expanded
        condition.” (‘870 Patent [9, 47-50])

        85.     Together, this suggests that in the expanded state, the outer tube is unable to move

freely along the length of the inner tube because it is both laterally constrained by the maximum

diameter of the outer tube being pressed upon by the expanded inner tube and longitudinally

constrained by the maximum length of the outer tube prohibiting the inner tube from expanding

further longitudinally.

        86.     This is further supported in the specification in the description of the assembly

process:

        “when the stretched and extended elastic inner tube 14 contracts from its expanded length,
        the unattached, unbonded, unconnected and unsecured soft fabric non-elastic outer tube 12
        is contracted by the couplers pulling together, as this happens, the outer fabric also catches
        on the rubbery elastic inner tube 14 material causing the outer tube 12 to become folded,
        compressed and gathered relatively evenly around the outside circumference along the
        entire length of the contracted inner tube 14.” (‘870 Patent [13, 12-21]).

        87.     When the hose is contracting during depressurization, the inner tube starts to shrink

laterally and longitudinally, the surface friction of the elastic inner tube is in frictional contact with

the outer tube, causing the outer tube to gather and reduce its apparent length to match the

contracted inner tube in a uniform manner. During the time of contraction, there can still be free

movement of the outer tube over the inner tube as the inner diameter of the outer tube is larger

than that of the shrinking inner tube. Contact is only made at the gathers in the outer tube and the


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contact friction can be easily overcome to allow for free movement.

       88.     The claim language itself and the details provided by the specification teach that

the use of “unsecured” to describe the ability of the outer tube to move freely along the inner tube

in an unpressurized state is consist with the antonym of the proposed construction, “affixed or

attached firmly so it cannot be removed.”

       89.     The use of “unsecured” in Group B is also consistent with the various Oxford

definitions of “secure” being used as an adjective, such the Concise Oxford English Dictionary,

2008, (Exhibit 2), “Fixed or fastened so as to not give way, become loose, or be lost.” The antonym

definition would support the need for the outer tube to move freely, or loose, along the inner tube,

to have the outer tube, between the first and second ends, to be unfixed or unfastened from the

inner tube.

       90.     Dr. Glancey’s failure to provide a construction for Group B highlights the confusing

and overlapping nature of how he extrinsically defines “couple to”, “to couple” and “secured to”,

defining “secure” as “to fasten” or “tighten” (Glancey, para 48). Using the antonym here out mean

that the outer tube is “unfastened” or “untighten” to the inner tube. To a POSITA, even with Dr.

Glancey’s broad and shallow description, “unfastening” would imply the use of a fastener

component which is not described or taught in the patent. Similarly, the use of “untighten” suggest

the use of rotationally constricting fasteners such as nuts and bolts or screws, or the common

stainless steel hose clamps mentioned earlier. Not only as components that would support Dr.

Glancey’s definition of "secure” not present, but the inclusion of such components would impede

the normal use of said hose, by requiring users to unfasten or untighten the elements keeping the

outer tube from moving freely along the inner tube in the unexpanded state.

       91.     Accordingly, the proper constructions of the Group B disputed terms are as follows:


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       •       “said inner and outer tubes unsecured between said first and second ends so
       that said outer tube is not held in frictional contact with said inner tube so that said
       outer tube can move freely along said inner tube” – “the inner and outer tubes are not
       affixed or attached firmly except at their first and second ends so that the outer tube can
       move freely along the inner tube between the couplers”;

       •       “said inner tube is unsecured to said outer tube between said first and second
       ends so that said outer tube can move freely over said inner tube” – “the inner tube is
       not affixed or attached firmly to the outer tube except at their first and second ends so that
       the outer tube can move freely along the inner tube between the couplers”; and

       •       “said flexible inner tube unsecured to said flexible outer tube between said
       first and second ends so that said flexible outer tube can move freely over said
       flexible inner tube” – “the flexible inner tube is not affixed or attached firmly to the
       flexible outer tube except at their first and second ends so that the flexible outer tube can
       move freely over the flexible inner tube”

       GROUP C:

       “a first restrictor sleeve secured to said first end of said inner and said
       outer tubes” / “a first restrictor sleeve secured to said first end of said flexible
       inner tube and said flexible outer tube”

       “a second restrictor sleeve secured to said second end of said inner and
       said outer tubes” / “a second restrictor sleeve secured to said second end of
       said flexible inner tube and said flexible outer tube”

       92.     Similar to Group B, Dr. Glancey refuses to propose a construction for the phrases

in Group C. Dr. Glancey focuses his analysis on how the specification defines the “restrictor

sleeve” and even aligns with the proposed language when he says the “restrictor sleeves” are

“component or sleeve that serves to restrict the expansion of the inner tube.” (Dr. Glancey, para

55). He goes on to say that this is the meaning that a POSITA about ascribe to it but recall that Dr.

Glancey’s definition of a POSITA is broad and shallow. Given only two years of experience,

would this hypothetical person assume this lack of specificity in the claim is the same as the

“expansion restrictor sleeve” used throughout the specification (see, e.g., ‘870 Patent [8, 47-49])

or ascribe other forms of restriction to this sleeve? Could it be a flow restriction sleeve, designed

to modify the pressure profile during use? Could it be a tamper restriction sleeve designed to keep

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the consumer from unduly modifying the hose and impacting its performance? Dr. Glancey

provides essentially no explanation on what the full scope of a “restrictor sleeve” is from the

perspective of a POSITA.

       93.     Additionally, by arguing that the Group C terms or phrases “do not require a

construction,” Dr. Glancey falls into the same dilemma addressed above regarding the so-called

plain and ordinary meaning of the term “secured” as it appears in the Group C phrases (Dr.

Glancey, para 55), because as discussed above (e.g., paragraphs 53, 55, and 82), the plain meaning

of “secured” overlaps with “couple.” To overcome these problems, the Group C phrases clearly

use the term “secured” in the same context as Winston’s proposed construction of “secured,”

namely “affixed or attached firmly so it cannot be removed from” (which must be understood as

distinct from the proper construction of the word “couple” as used in the claims, i.e., “to couple”

means “to removably connect” and “couple to” means “removably connected to.”

       94.     As mentioned in paragraph 66 above, there is nothing in the specification or the

claims that teaches how a “restrictor sleeve” can be “removably connected” to the ends of the inner

and outer tubes. The claims teaching the use of the “restrictor sleeves” are dependent claims,

suggesting that there are embodiments of the hose where the restrictor sleeves are not included.

Elsewhere in the specification we are also taught that “the male coupler 16 includes a threaded

portion 20, a mid-portion 22, and a portion 24 onto which are secured the inner tube 14, the outer

tube 12, and an expansion restrictor sleeve 26.” (‘870 Patent [8, 44-48]). The equivalent teaching

exists for the female coupler. Nothing in the specification or claims suggest that the “restrictor

sleeve” can be “removably connected” to the inner or outer tubes. Instead, because the “restrictor

sleeve’ is “secured” to the tubes, the proper construction should reflect that the “restrictor sleeve”

is “affixed or attached firmly so it cannot be removed” from the ends of the tubes.


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        95.     Dr. Glancey fails to resolve the ambiguity in the plain and ordinary meaning of

“secured” as used in the Group C terms/phrases. However, the specific use of “secured” in the

claims teaches that “a first restrictor sleeve secured to said first end of said inner and said outer

tubes” (‘870 Patent and ‘278 Patent, Claim 5) means a “device that restricts the expansion of the

inner tube and is affixed or attached firmly so it cannot be removed from the first end of the inner

tube and the first end of the outer tube.” Similarly, in the ‘915 where Claim 4 teaches “a first

restrictor sleeve secured to said first end of said flexible inner tube and said flexible outer tube”, it

means “a device that restricts the expansion of the inner tube and is affixed or attached firmly so

it cannot be removed from the first end of the flexible inner tube and the first end of the flexible

outer tube.”

        96.     The same logic applies to the similar teaching regarding the second “restrictor

sleeve” is “secured” to the second end of the “inner tube and outer tube.” In the ‘870 Patent and

‘278 Patent, Claim 5 teaches “a second restrictor sleeve secured to said second end of said inner

and said outer tubes”, again describing on the second end “a device that restricts the expansion of

the inner tube and is affixed or attached firmly so it cannot be removed from the second end of the

inner tube and the second end of the outer tube.” The ‘915 Patent adds the word “flexible” to the

inner and outer tubes, such that “a second restrictor sleeve secured to said second end of said

flexible inner tube and said flexible outer tube” means “a device that restricts the expansion of the

inner tube and is affixed or attached firmly so it cannot be removed from the second end of the

flexible inner tube and the second end of the flexible outer tube.” The proposed constructions are

consistent with the teaching throughout the patent, that in order for the hose to be of utility,

“secure” is properly defined as “affixed or attached firmly so it cannot be removed.”

        97.     The use of “secured” in Group C is also consistent with the various Oxford


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definitions of “secure” being used as a verb, such the Color Oxford English Dictionary, 2011,

(Exhibit 3), “to firmly fix or fasten.” The “restrictor sleeve” needs to be firmly fixed or fastened

to the first and second ends or else its stated function to restrict the expansion of the inner tube at

the point where it is secured to the outer tube and the coupler would not be fulfilled. If it was not

firmly fastened to the first and/or second ends of the hose and slid into a position in between the

first and second ends, then during pressurization, a stress concentration at the point where the inner

hose, outer hose and coupler are secured together would like result in a catastrophic failure of the

inner tube, defeating the utility of the hose as a fluid transport device.

         98.      As such, the proper constructions for Group C are:

     •    “a first restrictor sleeve secured to said first end of said inner and said outer tubes”

          - “device that restricts the expansion of the inner tube and is affixed or attached firmly so

          it cannot be removed from the first end of the inner tube and the first end of the outer

          tube”

     •    “a first restrictor sleeve secured to said first end of said flexible inner tube and said

          flexible outer tube” – “a device that restricts the expansion of the inner tube and is affixed

          or attached firmly so it cannot be removed from the first end of the flexible inner tube and

          the first end of the flexible outer tube”

     •    “a second restrictor sleeve secured to said second end of said inner and said outer

          tubes” - “a device that restricts the expansion of the inner tube and is affixed or attached

          firmly so it cannot be removed from the second end of the inner tube and the second end

          of the outer tube”

     •    “a second restrictor sleeve secured to said second end of said said flexible inner tube

          and said flexible outer tube” - “a device that restricts the expansion of the inner tube


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        and is affixed or attached firmly so it cannot be removed from the second end of the

        flexible inner tube and the second end of the flexible outer tube”


       GROUP D:

       “a first securing device securing said first restrictor sleeve, said outer
       tube, and said inner tube to said first coupler” / “a first securing device
       securing said first restrictor sleeve, said flexible outer tube, and said flexible
       inner tube to said first coupler”

       “a second securing device securing said another expansion restrictor
       sleeve, said outer tube, and said inner tube to said second coupler” / “a
       second securing device securing said second expansion restrictor sleeve, said
       flexible outer tube, and said flexible inner tube to said second coupler”

       99.     Group D examines the construction of Dependent Claim 7 in the ‘870 Patent and

the ‘278 Patent, and Dependent Claim 6 in the ‘915 Patent. Dr. Glancey opines that “securing

device” is not a nonce word as used in the Patents-in-suit. In Dr. Glancey’s attempt to describe

what a “securing device” could be to a POSITA, he contradicts himself. Dr. Glancey speculates

that “the specification specifically contemplates this broad scope by explaining various other

[emphasis his] types of devices may be used to secure” (Glancey, Para 60) the components at each

end of the hose, suggesting that the other methods of securing components mentioned in the

specification, “such as clamping and swaging can also be employed to secure the mail coupler to

the inner tube 14 , the outer tube 12, and the sleeve 26.”. (‘870 Patent [11, 14-16]). The

specification suggests that the “securing device” is unique and distinct from these other types of

connections. Though Dr. Glancey goes on to assert that these “‘securing devices’ could be any

known securing device,” in contradiction to the explicit teaching of the patent away from common

connections such as swaging and clamping. (Glancey, Para 60). Furthermore, when Dr. Glancey

expounds on the possible “securing devices” that would be clear to a POSITA, the list includes “a

screw, a nut and bolt, a securing ring, a clamp, a crimp, a swage fitting” (Glancey, Para 65), he

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ignores the fact that patent specifically teaches away from a “securing device” as including

clamping and swaging.

       100.    Additionally, of the examples provided, most would be impractical or conflict with

what is taught in the patent. For example, the use of screws would imply puncturing the wall of

the inner and outer tube to secure it to the coupler, a securing method that would likely result in

leaks and not consistently secure the components together uniformly but instead create localized

secured zones at the screws but allow pressurized fluid to escape where there were not screws.

Additionally, nothing in the specification nor the claims teach the uses of screws as the “securing”

device. In other aspects, where threads are used “to couple” components, the threads are detailed

and specified, suggesting that if the securing device was a similar component, it would be detailed

accordingly. Using a nut and bolt, as Dr. Glancey’s second example suggests falls into similar

ambiguous territory as the screw, where it is a challenge for the novice engineer described by Dr.

Glancey’s description of a POSITA to even conceive, based on the specification, drawings and

claims, how to use nuts and bolts as the securing device.

       101.    Like screws, nuts and bolts are used typically for attached two or more components

together using a preexisting hole, where both the nut and the head of the bolt are accessible for

tightening operations.   Putting holes in the outer tube and inner tube would create stress

concentrations and would increase the likelihood of the end hose failing under pressure.

Additionally, the features required to fixture the nut during tightening and/or provide a means for

the threads of the nut to mate are both not mentioned in the specification, drawings or claims, and

the affordances for these features would likely impede the flow of liquid within the inner tube.

       102.    Dr. Glancey even uses the term “securing ring” to describe a “securing device,”

(Glancey, Para 65), conflating it with a retaining ring, which is used in mechanical assemblies to


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restrict translational motion, such as the mounting of bearings in a sleeve. Retaining rings are

effectively specially designed radial springs that are installed in a compressed state, shrinking their

overall diameter, and then fitted into a retaining slot, where they can return to a relaxed or partially

deformed state, creating a barrier to motion within the assembly. Retaining rings apply spring

force radially outward whereas the “securing device” necessary for this hose described in the

Patents-in-suit requires force to be directed radially inward to effectively seal the outer tube and

the inner tube to the coupler as taught. Frankly, it is not clear how Dr. Glancey concludes that a

POSITA understand a “securing device” to include a “securing ring.”

       103.    According to the specification, a “securing device” is different from “other types

of connections, such as clamping and swaging” that can be used to secure the coupler to the tube.

(‘870 [11, 13-18]). As mentioned in the analysis above, swaging requires the plastic deformation

of the tubes being swaged and then the addition of further sealant between the two tubes being

swaged together in the joint. As taught in the Patents-in-Suit, the inner tube cannot plastically

deform. Furthermore, the traditional sealant used in swaging is a solder render in a liquids state

for swaging using a source of tremendous heat, such as a blow torch. The specified materials of

the inner and outer tubes in the Patents-in-Suit would not survive the soldering process.

       104.    Dr. Glancey also mentions crimping, which is a type of irreversible process by

which the components being connected are encompassed by an additional material that is

mechanically deformed to provide clamping force even after the tool used to mechanically deform

the crimp is removed. This method of attaching components is routinely used in electrical

connections, as well as for the construction of hoses, including garden hoses, air hoses and

hydraulic hoses. The Patents-in-Suit claim the securing device is novel in how it attaches the inner

tube and the outer tube to the couplers at both the first end and the second end. Yet we are never


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taught how this “securing device” differs from what is common in the field.

       105.    Dr. Glancey persists in his view that “securing device” is not a nonce term. He

goes on to contradict his own analysis of what constitutes a “securing device.” In his examples of

the methods he claims are readily apparent to a POSITA, he either cites attachment methods

specifically taught away from in the Patents-in-Suit (clamping and swaging), lists options that

would be so impractical as to be useless in the assembly of the hose (screws, nuts and bolts), creates

his own nonce term (securing ring) or cites a decisively not novel narrow type of clamping called

crimping. Not only has crimping been used for generations of hoses across multiple markets to

attach couplers to tubes, but crimping also aligns with Winston’s definition of “secured.”

Crimping is a non-reversible clamping technology requiring specially tools that allows the user to

“affix or attach firmly so it cannot be removed.”

       106.    The use of “securing” in Group D is also consistent with the various Oxford

definitions of “secure” being used as an adjective, such the Concise Oxford English Dictionary,

2008, (Exhibit 2), “Fixed or fastened so as to not give way, become loose, or be lost.” Within the

context of these claims, the “securing device” is used to “fasten” the “restrictor sleeve”, the

“coupler,” the “inner tube,” and the “outer tube” together “so as to not give way, become loose.”

If the “securing device” did not perform the function as defined here, then the hose utility would

be defeated.

       107.    Accordingly, the proper constructions of the Group D disputed terms are as follows:

       •       “a first securing device securing said first restrictor sleeve, said outer tube,
       and said inner tube to said first coupler” – “a device encompassing and affixing or
       attaching firmly the first restrictor sleeve, the first end of the outer tube, and the first end
       of the inner tube to the first coupler so they cannot be removed”

       •       “a first securing device securing said first restrictor sleeve, said flexible outer
       tube, and said flexible inner tube to said first coupler” – “a device encompassing and
       affixing or attaching firmly the first restrictor sleeve, the first end of the outer tube, and

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       the first end of the inner tube to the first coupler so they cannot be removed”

       •       “a second securing device securing said another expansion restrictor sleeve,
       said outer tube, and said inner tube to said second coupler” – “a device encompassing
       and affixing or attaching firmly the second restrictor sleeve, the second end of the outer
       tube, and the second end of the inner tube to the second coupler so they cannot be
       removed”

       • “a second securing device securing said second expansion restrictor sleeve, said
       flexible outer tube, and said flexible inner tube to said second coupler” – “a device
       encompassing and affixing or attaching firmly the second restrictor sleeve, the second
       end of the outer tube, and the second end of the inner tube to the second coupler so they
       cannot be removed”

       108.    In the alternative, I understand that Winston contends that “securing device” is a

nonce term that is governed by 35 U.S.C. § 112(f) (or pre-AIA 35 U.S.C. § 112 sixth paragraph).

I agree that “securing device” is merely a generic placeholder that is followed by functional

language in the claims. See, e.g., ‘870, Claim 7 (“a first securing device securing said first

restrictor sleeve, said outer tube, and said inner tube to said first coupler, and a second securing

device securing said another expansion restrictor sleeve, said outer tube, and said inner tube to said

second coupler”). Accordingly, by identifying the corresponding structure described in the written

description of the Patents-in-Suit, we can construe the proper scope of “securing device.”

       109.    In reviewing the claims, the claims reciting a “securing device” do not provide

any structure besides a “device” that is used to “secure” the “inner tube,” the “outer tube,” and

the “restrictor sleeve” to the “couplers.” In other words, the claims use a generic placeholder to

accomplish functional language but does not provide any structure or additional context as to how

the generic placeholder accomplishes the recited functions. Therefore, I believe “securing device”

should be interpreted under 35 U.S.C. § 112(f) (or pre-AIA § 112 sixth paragraph).

       110.    Dr. Glancey renders two opinions: first, he opined that “securing device” is not a

nonce term that should be construed under 35 U.S.C. § 112, sixth paragraph (Glancey, Para 62-


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69); second, he states that even if “securing device” is construed as a mean-plus-function

provision, Dr. Glancey states that “securing device” means the following structure: “at least

securing rings 34 and 40” as well as “any number of appropriate and well-known securing

devices.” (Glancey, Para 70-74).

       111.    Dr. Glancey repeats his argument that the claims and specification of the Patents-

in-Suit sufficiently define the meaning of “securing device” and that a POSITA could infer

numerous meanings for “securing device” including “a screw, a nut and bolt, a securing ring, a

clamp, a crimp, a swage fitting, etc.” (Glancey, Para 65). In my analysis of the proposed

constructions in Group D, I detail how these potential interpretations of “securing device” using

his improper definition of a POSITA, are not feasible for the task of securing the “restrictor

sleeve,” the “inner tube,” and the “outer tube” to the “coupler,” are specifically taught away from

by the specification, or are interpreting a nonce term, “securing device” as another nonce term,

“securing ring.” Even “crimping,” which is a type of irreversible “clamping,” has been used in

hose manufacturing for generations, suggesting both that the specification teaches away from the

“securing device” being a crimping device as it is a type of clamping and that crimping itself is

not novel within the context of this hose.

       112.    Dr. Glancey fails to demonstrate how a POSITA would glean sufficient structure

for performing the function of the “securing device.” Dr. Glancey’s analysis raises more questions

than it answers as to how a POSITA would accomplish the function of the “securing device.” His

extensive list of examples of a “securing device” would simply not work and highlights the failure

of the claims and specifications to sufficiently describe the structure to perform the function of

securing the “restrictor sleeve,” the “inner tube,” and the “outer tube” to the “coupler.”

       113.    Dr. Glancey neglects to accept the narrow structure taught in the patent with regard


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to the “securing device.” The only structure for the “securing device” taught in the Patents-in-suit

appears in FIGS. 7 & 8:




       114.    FIG. 7 illustrates the “male coupler” 16 secured to the “second restrictor sleeve”

26, and then “second end” of the “outer tube” 12, the “inner tube” 14 by the “securing device” 34

that encompasses the “second restrictor sleeve” 26, and then “second end” of the “outer tube” 12,

the “inner tube” 14. As can be seen from the drawing, the “securing device” seems to be a ring

of unspecified material, roughly half the width of the hexagonal portion of the “male coupler” 16,

that encompasses the “second restrictor sleeve” 26, and then “second end” of the “outer tube” 12,

the “inner tube” 14. The “male coupler” 16 extends into the interior of the “second restrictor

sleeve” 26, and then “second end” of the “outer tube” 12, the “inner tube” 14.         Though not

explicitly taught how this structure, “securing device” 34, accomplishes the function, evidently

this apparent ring of unspecified material somehow attaches the “second restrictor sleeve” 26, and

then “second end” of the “outer tube” 12, the “inner tube” 14 to the “tubular extension” 34 as the

means of securing these components to the “male coupler” 16.

       115.    The specification mentions the “securing device” used on the female coupler only

twice in the specification. First, detailing that “A securing device 34 encompasses the outer sleeve

26, the outer tube 12, and the inner tube 14 and secures these elements to the tubular extension

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34.” (‘870 Patent [10, 65-67]). Secondly, to use the “securing device” to describe the location of

the function of another element, “the expansion restrictor sleeve 26 is restricting the expansion of

the inner and outer tubes at the junction of the securing device 34.” (‘870 Patent [11, 7-9]).

Nowhere else is the “securing device” used to attach the “restrictor sleeve”, the “inner tube” and

the “outer tube” to the “male coupler” until the broad use of “securing devices” in the claims of

the Patents-in-Suit.




       116.     FIG. 8 illustrates the “female coupler” 18 secured to the “first restrictor sleeve” 27,

and then “first end” of the “outer tube” 12, the “inner tube” 14 by the “securing device” 40 that

encompasses the “first restrictor sleeve” 27, and then “first end” of the “outer tube” 12, the “inner

tube” 14.     As can be seeing from the drawing, the “securing device” seems to be a ring of

unspecified material, roughly one-fifth the width of the exterior width of the “threaded portion”

28 of the “female coupler” 18, that encompasses the “first restrictor sleeve” 27, and then “first

end” of the “outer tube” 12, the “inner tube” 14. The “female coupler” 18 extends into the interior

of the “first restrictor sleeve” 26, and then “first end” of the “outer tube” 12, the “inner tube” 14.

Though not explicitly taught how this structure, “securing device” 40, accomplishes the function,

evidently this apparent ring of material somehow attaches the “first restrictor sleeve” 27, and then

“first end” of the “outer tube” 12, the “inner tube” 14 to the “tubular extension” 36 as the means

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of securing these components to the “female coupler” 18.

       117.    The specification goes on to describe that the “securing device 40 encompasses the

outer sleeve 27, the outer tube 12, and the inner tube 14 and secures these elements to the tubular

extension 36.” (‘870 Patent [11, 31-33]). The only other time the “securing device” on the “female

coupler” is mentioned that in the unexpanded state, “the sleeve 27 is not restricting expansion of

the inner and outer tubes at the junction of the securing device 40.” (‘870 Patent [11, 37-39]).

Here, the “securing device” is used only to mark the location where expansion is not being

restricted. There is no other mention of the “securing device” on the female coupler anywhere else

in the Patents-in-Suit other than when the broad nonce term “securing device” is used in the claims.




       118.    FIGS. 1 & 3, which show the “male coupler” and “female coupler” in both the

expanded and contracted state of the hose, give no indication of how the “inner tube” and the

“outer tube” are secured to the “couplers” nor how the “restrictor sleeve,” the “inner tube” and the

“outer tube” all three are secured to the couplers. There is no “securing device” identified in these

preferred embodiments illustrated. Nothing matches the ring shown as “securing device” 34 & 40

in FIGS 7 & 8. Item 24 in FIGS. 1 & 3 is labeled as a “portion” of unknown structure or function


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as part of the “male coupler 16 includes a threaded portion 20, a mid-portion 22, and a portion 24

onto which are secured the inner tube 14, the outer tube 12, and an expansion restrictor sleeve 26.”

(’870 Patent [8, 44-48]). The other potential element labeled in FIGS. 1 & 3 is 30, which is defined

nowhere in the specification.

       119.    I agree with Winston Products’ assertion that “securing device” is a nonce term,

one that is ill defined in the Patents-in-Suit. Using what I understand of the requirements of 35

U.S.C. § 112 sixth paragraph, “securing device” must be construed to be only the ring labeled “34”

in FIG 7 and labeled “40” in FIG 8, and not the broad range of possible attachment methods briefly

cited but not explained by Dr. Glancey (Glancey, para 65), but not supported by the written

description of the Patents-in-Suit. In other words, the “securing device” mentioned in the claims

in the Patents-in-Suit must be construed as a “ring, of a width roughly one fifth of the width of the

threaded portion of the female coupler, encompassing and affixing or attaching firmly the restrictor

sleeves, the ends of the outer tube, and the ends of the inner tube to the couplers so they cannot be

removed.”

VI.    RESERVATION OF RIGHTS

       120.    I understand that discovery in this case is ongoing. I reserve the right to amend or

supplement my opinions expressed above upon the discovery of new facts and information. This

includes, but is not limited to, deposition testimony or additional documents and statements that I

may become aware of.

       121.    I reserve the right to submit additional materials related to my opinion about the

material phrase and its construction upon any critique or analysis of my opinions, including but

not limited to a response to any testimony set forth by Plaintiff’s expert Dr. James L. Glancey, or

any testimony of other experts relied upon by the Plaintiff. In addition, I reserve the right to submit


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                      Exhibit 2
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                                  JOHN MORGAN FELAND, III

QUALIFICATIONS
    x   Expert at UX Design with proven prowess at gesture design and integration in complex applications
    x   Award winning product designer with a fluency in both consumer empathy and deep technology expertise
    x   Deep technical knowledge of embedded vision systems, artificial intelligence, autonomous vehicle technologies
    x   Wildly imaginative and creative approach to solving difficult problems and crafting novel opportunities
    x   Prowess in long term strategic foresight and product planning, utilizing multidisciplinary trends
    x   Deep empathy for end users, culling insights from ethnographic, interviews, and other methods
    x   Patents issued & pending in MEMS sensors, consumer electronic interfaces, UX gestures, and AI insights
    x   Managed the development of over 100 unique prototype consumer product experiences
    x   Excellent technical writing and oral presentation skills, including press, investor, and executive interactions

PROFESSIONAL EXPERIENCE
I-LAB ENGINEER, Aug 18 to present                                                                     The Nueva School, CA
    Teacher at noted private school for gifted students in Silicon Valley. Courses include engineering and entrepreneurship.
CEO & FOUNDER, Sep 09 to present                                                                      Argus Insights, CA
   Founder of Argus Insights, a novel Experience Analytics firm that provides real-time market intelligence on user
   experiences with consumer products and services. Providing evidence to support strategic decision making, Argus
   Insights offers a comprehensive set of offerings enabling the enterprise deeper understanding of how their products
   and services impact their target users as well as competitive experience landscapes. Mixing a blend of Artificial
   Intelligence sentiment analysis, processing of unstructured consumer data and design thinking methodologies, Argus
   has helped clients identify millions in cost savings, market potential, and provided recommendations that moved firms
   from obscurity to acknowledge market leaders.
    Key Clients and Projects include:
        x   Autonomous Vehicle Alliance: Analysis of what UX aspects are driving adoption in autonomous vehicles
            including consumer perception of semi-autonomous features such as self-parking and adaptive cruise
        x   Gerber Technology: UX design for industrial cutting tools, using design thinking to lower training requirements
            and drive up operator effectiveness
        x   Silicon Labs: Mapping of consumer journey through Smart Home UX and impact of Voice Assistants on multi-
            user experiences in the home
FORUM CHAIR, Apr 2017 to Sep 2018                                                                    IoT Forum, CA
   Forum chair and moderator for the Internet of Things Forum in Silicon Valley. Recent topics include Autonomous
   Vehicles, Industrial IoT, Security, Robotics and Agriculture.
DISTINGUISHED LECTURER, 2012                                                           Cogswell Polytechnical College, CA
   Developed curriculum and taught classes in Entrepreneurship and Robotics.
CONSULTING ASSISTANT PROFESSOR, Oct 09 to Sep 11                                             Stanford University, CA
  Appointment in the Design Group of Mechanical Engineering to teach occasional classes on design innovation.
EXECUTIVE DIRECTOR, GLOBAL DESIGN INNOVATION, Oct 09 to Dec 2010                                   Stanford University, CA
   Executive Director of the world renowned ME310 Global Design Innovation course. With a forty year history, this year
   long graduate mechanical engineering course has been connecting students from around the world with enthusiastic
   corporate partners to both develop their design skills and create compelling innovation prototypes for companies.
CHIEF TECHNOLOGIST, Sep 08 to Sep 09                                                       SK Telecom Americas, CA
   Responsible for understanding how the rapidly changing technology landscape would enable SK Telecom to craft new
   business opportunities in the Americas. My areas of responsibility ranged from NGN wireless technologies (LTE vs
   WiMaxx, etc), handheld experiences & the interface technologies that enable them (multitouch touchscreens, haptic
   feedback, smartphone operating systems), as well as evolving influences on the telecommunications market (cloud
   computing, femtocells, CDN’s, LBS, SNS, etc.) Supported SKTA’s internal Business Development & Corporate Venture
   Capital organizations.
LECTURER IN STANFORD DESIGN GROUP, Dec 2007                                                       Stanford University, CA
   Cotaught Strategic Foresight and Design course with Director of the Stanford Center for Critical Foresight.
USER INTERFACE ARCHITECT & HANDHELD MARKETING MANAGER, Aug 06 to Aug 08                                        Synaptics, CA



                                                                                                 3 | John M. Feland, III, Ph.D.
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John Morgan. Feland, III                                                john.feland@argusinsights.com, 650-868-0114
    Developing new interface capabilities based on current and anticipated customer needs. Driving demand for new
    capabilities with Tier 1 consumer electronic OEM customers. Led efforts to create innovative concepts in the PC
    Peripherals, Gaming, Multi-finger Touchscreen interactions, and Capacitive Button technologies that consider emerging
    user needs, current technology trajectories, and evolving market conditions. Member of internal Intellectual Property
    Team, responsible for reviewing potential internal IP, licensing opportunities, and IP strategy.
END USER RESEARCH AND CONCEPT PROTOTYPING MANAGER, Dec 04 to Aug 06                                         Synaptics, CA
   Built a team to drive innovation through the ideation & creation of experience prototypes. New concepts generated over
   $3 mil in revenue in the first year. Architected the Onyx, a new mobile phone experience widely heralded as the future
   of mobile interfaces, winning 2006 international Red Dot Design Concept Award.
SENIOR MECHANICAL ENGINEER, Feb 04 to Dec 04                                                 Symyx Technologies, CA
   MEMS industrial sensor development. Responsibilities include customer need-finding, product idea generation,
   concept prototyping, supply chain development, and detailed component design for a $40 million market.
MENTOR TEACHING AFFILIATE, Winter Quarter 2003-2004                                           Stanford University, CA
  Teaching team in the first course for the Stanford University d.School. Studio Head for Interdisciplinary Design
  Innovation class. Taught business, engineering, & humanities students to design video games for Electronic Arts.
DESIGN STRATEGY CONSULTANT, Jun 02 to Feb 04                                                         Trusted Nomad, CA
   Worked as an independent contractor to provide innovation training to Finnish product design firms. Identified potential
   market opportunities for MEMS sensors for Symyx Technologies that resulted in a new business unit.
ASSISTANT PROFESSOR, ENGINEERING MECHANICS, Aug 99 to Jul 01                                  US Air Force Academy, CO
   Dramatically redesigned engineering design curriculum. Received highest instructor enthusiasm ratings for the entire
   university and highest student evaluations in course history. Launched first ever Mechatronics course. Faculty advisor
   to SAE Mini-Baja, part-time Japanese instructor, and Professional Ethics Advisor to 120 students.
DIRECTOR, MEASUREMENT AND SIGNALS INTELLIGENCE SYSTEMS, Apr 99 to Jul 99                           Joint Analysis Ctr, UK
   Supervised classified intelligence support for Operation Allied Force in Kosovo. Worked with interdisciplinary team to
   translate user needs to system requirements. Ensured national intelligence assets were leveraged in support of entire
   theater of operations, ranging from Norway to Iraq.
PROGRAM MANAGER, DEFENSE INTELLIGENCE SYSTEMS, Mar 97 to Apr 99                            National Air Intelligence Ctr, OH
   Managed defense technical intelligence mission requirements and software development for $18 billion missile warning
   satellite program. Selected to lead eight-person multidisciplinary team transitioning critical imagery support directly to
   the Warfighter. Direct oversight of a $4 million software development effort.
PRODUCT DESIGN ENGINEER, Jun 96 to Jan 97                                                 IDEO Product Development, CA
   Worked as mechatronic design engineer for world’s foremost design firm, IDEO Product Development. Designed and
   prototyped products ranging from artificial skin bioreactors for Advanced Tissue Sciences to new office lighting concepts
   for Steelcase Inc.

EXPERT CONSULTING DURING PAST FOUR YEARS
    x   Incase Design Corp. v. mophie, Inc. Interference No. 105,946 (RES).
    x   mophie, Inc. v. Dharmesh Shah, et. al.,Case No. SACV 13-01321 DMG (JEMx) (C.D. Cal.)
    x   mophie, Inc. v. uNu Electronics, Inc., Case No. 8:13-cv-01705-CAS (JCGx) (C.D. Cal.)
    x   Jawbone, Inc. v. Fitbit Inc., (C.D. Cal.)
    x   Jawbone, Inc. v. Fitbit Inc., (Federal Trade Commission, D.C.)
    x   T-Mobile USA, Inc. v. Huawei Device USA, Inc., Case No. C14-1351-RAJ (US District Court, Western District,
        WA)
    x   Zagg Inc., & mophie, Inc v. Anker Technology Co .Ltd., et. al. , Case No. 8:17-CV-2193 (C.D. Cal.)
    x   Thunder Power New Energy Vehicle Development Company Limited, v. Byton North America Corporation, et. al. ,
        Case No. 3:18-cv-03115-JST, (US District Court, Northern District, CA)
    x   Nine Stars Group USA Inc. v. Factory Direct Wholesale, LLC Case No. 2:18-cv-06471-PSG-PJW, (US District
        Court, Northern District, CA)
    x   ANCORA TECHNOLOGIES, INC., v. LG ELECTRONICS INC. and LG ELECTRONICS U.S.A., INC., Civil Action
        No. 1:20-cv-00034-ADA (United States District Court For The Western District Of Texas Austin Division)




                                                                                                  4 | John M. Feland, III, Ph.D.
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John Morgan. Feland, III                                            john.feland@argusinsights.com, 650-868-0114
EDUCATION
PHD IN MECHANICAL ENGINEERING, 2005                                                           Stanford University, CA
   Pursued comprehensive design research that integrates human, business, and technical issues in support of increased
   innovation performance. Developed model of design innovation that forecasts downstream corporate performance.
   Coursework includes need-finding, decision analysis, marketing, accounting and finance.
MASTERS OF SCIENCE IN MECHANICAL ENGINEERING, 1996                                        Stanford University, CA
  Coursework in mechanical design, smart product development, entrepreneurship and program management.
S.B. MECHANICAL ENGINEERING, 1994                                          Massachusetts Institute of Technology, MA
    Coursework included product design, Japanese, fluid dynamics, manufacturing methods and thermodynamics.

AWARDS/HONORS
 x Red Dot Design Concept Award winner for the Onyx Mobile Phone Concept, world’s first functioning multitouch
   mobile phone experience (2006)
 x Over ten patents issued and pending, two for MEMS Sensors and eight for consumer electronics human interfaces
 x Guest Editor of Special Issue on Innovation for the International Journal of Engineering Education (2004)
 x ASEE Apprentice Faculty Grant Winner (2003)
 x ASME Curriculum Innovation Award, Honorable Mention (2002)
 x Air Force Commendation Medal, First Oak Leaf Cluster (2001)
 x Top Junior Faculty of USAFA School of Engineering (2001)
 x Who’s Who in the World and America
 x Instructor of the Quarter, Department of Engineering Mechanics (2000)
 x Joint Achievement Medal (1999)
 x Air Force Commendation Medal (1999)
 x Joint Analysis Center Most Valuable Contributor Award during week 5 of Operation Allied Force in Kosovo (1999)
 x Merit Award, Lincoln Foundation Design Competition (1996)
 x Professor of Aerospace Studies Award for Top Senior Air Force ROTC Cadet from MIT, Harvard, Tufts, & Wellesley
   (1994)


SELECTED PUBLICATIONS
Refereed Publications
   Feland, J, Leifer, L. “The Effects of Electronic Documentation Tools on the Performance Outcome of the Design
           Process,” Proceedings of the 11th International Conference on Engineering Design, 1997.
   Feland, J., Nowack, M., Leifer, L., “Cost-Performance management through knowledge reuse in large-scale defense
           projects – vision and proposed system architecture,” Proceedings of Design Reuse, EDC 98, Brunel University,
           1998.
   Feland, J., Leifer, L., “Requirement Volatility Metrics as an Assessment Instrument for Design Team Performance
           Prediction,” Designing Design Education for the 21st Century, Mudd Design Workshop II, 1999.
   Feland, J. Leifer, L., Nowack, M., “Requirement Volatility: How Lessons Learned Can Be Applied in the Design of New
           Requirements,” in Proceedings of the 12th International Conference on Engineering Design, Munich, Germany,
           August 24-26, 1999.
   Liang, T., Cannon, D.M.C., Feland, J.M., Mabogunje, A., Yen, S., Yang, M.C., and Leifer, L.J., “New Dimensions In
           Internet-Based Design Capture and Reuse”, in Proceedings of the 12th International Conference on Engineering
           Design, Munich, Germany, August 24-26, 1999.
   Feland, J and Jensen, D.,“A Simple Approach for Using Myers Briggs Type Indicator Data to Enhance Engineering
           Education”, Proceedings of the ASEE South West Regional Conference, Golden, CO, March, 2000.
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John Morgan. Feland, III                                                john.feland@argusinsights.com, 650-868-0114
    Feland, J., “Touch the Future: Projected-Capacitive Touch Screens Reach for New Markets,” Information Display, Vol.
            24 No. 7, July 2008.
Invited Talks
    “What will the next 10 years bring?: Putting Blockchain, AI, Autonomation and other technologies in context”
        x National Conference of State Legislatures, 2017
    “Consumer Experiences with Early Autonomous Vehicles: Insights Governing Adoption ”
        x Autonomous Vehicles 2017 Detroit Summit, 2017
    “Voice Assistants Impact on the Automotive Experience, Beyond Siri”
        x IEEE COMSEC on Connected Cars, 2015
    “Origins of Design Thinking: Design for Aliens ”
        x Design Thinking Unconference, 2011
     “Reflecting the flat world in design education through ME310: Global Design Innovation Class”
        x Autodesk University Annual Conference, 2010
     “The Future Needs Us, By Design”
        x Asilomar Microcomputer Workshop, 2010
     “Designing Compelling User Experiences”
        x Gilder-Forbes Telecosm Conference, 2005
        x ME310, Stanford University, 2006, 2007, 2008, 2009, 2010
    “Future of Touch Interfaces”
        x Gilder Forbes Telecosm Conference, 2007
        x Bear Stearns Investor Conference, 2007
    “Teamwork and Teambuilding skills workshop”
        x Global Entrepreneurial Marketing, Stanford University 2002
        x Creativity and Innovation, Stanford University 2003
        x Adventures in Design Thinking, Freshman Seminar, Stanford University, 2003, 2004, 2005

Invited Papers
    Bowe, M., Jensen, D., Feland, J., Self, B., “When Multimedia Doesn’t Work: An Assessment of Visualization Modules
           for Learning Enhancement in Mechanics”, Technology Paper: Institute for Information Technology Applications,
           US Air Force Academy, CO, (2000).
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Media Mentions
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    Balakrishnan A., “Apple just made a deal that could reinvent the App Store for a new generation,”
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    Fong,      A., “How the Amazon Echo became an unlikely leader in the smart home war,”
              https://business.financialpost.com/technology/personal-tech/how-the-amazon-echo-became-an-unlikely-
              leader-in-the-smart-home-war, 7 Mar 2016.
    Buckingham, A., “Who are the winners and losers in the current IoT market?,” https://betanews.com/2016/03/03/who-
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    D'Onfro, J., “We're hearing about troubles at Nest, the smart-home company Google bought for $3.2 billion,”
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    Jelinek, J., “Smart Home Devices Are Great. Smart Home Apps, Not So Much,” https://techaeris.com/2016/01/26/smart-
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   Bennett; James, Dales; G. Cameron, Feland, III; John M., Kolosov; Oleg, Low; Eric, Matsiev; Leonid, Rust; William C.,
           Spitkovsky; Mikhail, Uhrich; Mark, 2007, Portable fluid sensing device and method, filed 20 April 2005, and
           issued 18 Sep 2007.
SOFTWARE PROFICIENCY
 x MYSQL, Postgres, Ruby on Rails, Javascript, Meteor, React, D3.js, Highcharts, MongoDB
 x Microsoft Office Suite, Microsoft Project, Visio
 x Solidworks, Autodesk Inventor
 x Embedded Microprocessors – BASIC Stamp, Motorola 68HC11, Atmel AVR, BASIC Atom, Arduino, C.H.I.P.

PROFESSIONAL AFFILIATIONS
 American Society of Engineering Education
   x Publications Chair for Entrepreneurship Division (1999-2002)
   x Session Chair and peer reviewer for annual conference
 American Society of Mechanical Engineers, member
   x Peer review for Design Theory and Methodology Annual Conference
 International Design Society, associate member
   x Charter member
   x Session Chair and Peer Reviewer for International Conference on Engineering Design
 Stanford Center for Critical Foresight
   x Member of Board of Advisors
 MIT/Stanford Venture Lab
   x Executive Board Member At Large
 MIT Club of Northern California
   x Semiconductor Division Steering Committee
 MIT Alumni Association
   x Class of 1994 President
HOBBIES AND ACTIVITIES
   Cycling, Gourmet Cooking, Gadgets, Fatherhood, Sailing, Snowboarding, Hiking, Camping, World Travel




                                                                                                 9 | John M. Feland, III, Ph.D.
